                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


MOISES ENOT VELASQUEZ MONTERROSA, )
on behalf of himself and all others similarly          )
situated,                                              )
                                                       )
                               Plaintiff,              )
                                                       )
        v.                                             )            JUDGMENT
                                                       )          5:14-CV-448-BO
MI CASITA RESTAURANTS, JM MACIAS,                      )
INC., JFC LLC, MACIAS LLC, MACIAS                      )
ENTERPRISE LLC, MC MANAGEMENT                          )
LLC, MEXICAN FOODS EXPRESS, INC.,                      )
PIRAMIDE MEXICAN FOODS, INC., VIA 216 )
LLC, JESUS MACIAS, and JAUN MACIAS,                    )
                                                       )
                               Defendants.             )
                                                       )
Decision by Court.
This matter is before the Court on the parties' joint motion for final approval of their proposed
settlement.

IT IS ORDERED, ADJUDGED AND DECREED that the plaintiff’s unopposed motion for
final Approval is GRANTED, and the settlement as set forth in the parties' stipulation and
settlement agreement [Dkt. 101-1] is approved. The FLSA settlement is approved. Plaintiff’s
unopposed motion for attorneys' fees and costs is GRANTED, and Class Counsel is awarded
$833,333.33 and is reimbursed their costs of $20,000.00. The service awards for named plaintiff
Moises Enot Velasquez Monterrosa in the amount of $7,000, and for plaintiff Anyi Turcios
Reyes in the amount of $3,000, are reasonable.

This judgment filed and entered on September 26, 2017, and served on
Jesse Forester (via CM/ECF Notice of Electronic Filing)
Jimmy Braziel (via CM/ECF Notice of Electronic Filing)
Michael Cohen (via CM/ECF Notice of Electronic Filing)
Gild Hernandez (via CM/ECF Notice of Electronic Filing)
Joshua Krasner (via CM/ECF Notice of Electronic Filing)
William Barrett (via CM/ECF Notice of Electronic Filing)

                                              PETER A. MOORE, JR., CLERK
September 26, 2017                            /s/Lindsay Stouch
                                              By: Deputy Clerk




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